           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 1 of 13




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           EDUARDO ANTONIO           :                  MOTION TO VACATE
           MORENO-ROSALES,           :                  28 U.S.C. § 2255
           BOP Reg. # 61158-019,     :
               Movant,               :
                                     :                  CRIMINAL ACTION NO.
               v.                    :                  1:09-CR-359-RWS-AJB-2
                                     :
           UNITED STATES OF AMERICA, :                  CIVIL ACTION NO.
               Respondent.           :                  1:13-CV-977-RWS-AJB

                         UNITED STATES MAGISTRATE JUDGE’S ORDER
                         AND FINAL REPORT AND RECOMMENDATION

                 Movant, Eduardo Antonio Moreno-Rosales, filed a 28 U.S.C. § 2255 motion to

           vacate, set aside, or correct his sentence in criminal action number 1:09-cr-359-RWS-

           AJB-2 [Doc. 257].1     On October 3, 2014, the undersigned determined that an

           evidentiary hearing was needed to resolve ground one of the § 2255 motion.

           [Doc. 285.] The undersigned subsequently appointed counsel to represent Movant.

           [Doc. 286.] Movant then submitted a motion for appointment of counsel, [Doc. 291],

           which is DENIED AS MOOT. The evidentiary hearing was held on January 23, 2015.

           [Doc. 295.]



                 1
                    Citations to the record in this Order and Final Report and
           Recommendation refer to case number 1:09-cr-359-RWS-AJB-2.


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 2 of 13




                 The parties filed post-hearing briefs. [Docs. 301, 304, 305.] Movant also filed

           a motion to amend grounds two and three of his § 2255 motion and request an

           evidentiary hearing on those grounds. [Doc. 302.]2 For good cause shown, Movant’s

           motion to amend, [Doc. 302], is GRANTED. For the reasons discussed below,

           Movant’s motion for evidentiary hearing, [Doc. 302], is DENIED, and the undersigned

           RECOMMENDS that the § 2255 motion, [Doc. 257], as amended, be DENIED.

           I.    Background

                 In an indictment filed on July 29, 2009, Movant was charged with the following

           offenses: (1) conspiracy to distribute and possess with intent to distribute cocaine, in

           violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii), & 846 (count one); (2) possession

           with intent to distribute cocaine, in violation of 18 U.S.C. § 2 and

           21 U.S.C. §§ 841(a)(1) & 841(b)(1)(A)(ii) (count five); and (3) conspiracy to commit

           money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(a)(2)(A),


                 2
                        In ground four of his original § 2255 motion, Movant claimed that he did
           not knowingly and intelligently plead guilty because trial counsel failed to explain the
           appeal waiver in the plea agreement. [Doc. 257 at 8.] At the evidentiary hearing,
           Movant’s § 2255 counsel stated that (1) Movant “doesn’t want to get out of his plea,”
           and (2) it was “totally irrelevant . . . whether [Movant and trial counsel] had discussed
           appellate rights . . . prior to sentencing . . . .” [Doc. 296 at 4, 15; see also
           Doc. 301 at 10.] Therefore, the undersigned concludes that Movant’s motion to amend
           constitutes an implicit withdrawal of ground four of his original § 2255 motion.

                                                      2


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 3 of 13




           1956(a)(2)(B)(i) & (ii), & 1956(h) (count six). [Doc. 22 at 1-2, 4-7.]

                 Movant decided to plead guilty on January 27, 2011. [Docs. 157, 157-1, 157-2.]

           At sentencing on October 13, 2011, the Court determined that Movant’s United States

           Sentencing Guidelines range was 210 to 262 months imprisonment. [Doc. 232 at 26.]

           However, the Court sentenced Movant to 175 months imprisonment, followed by five

           years supervised release.3 [Doc. 190 at 2-3.]

                 Movant filed a notice of appeal on March 2, 2012, but the United States Court

           of Appeals for the Eleventh Circuit dismissed the appeal as untimely on September 25,

           2012. [Docs. 218, 244.] Movant delivered his § 2255 motion to prison authorities for

           mailing on March 20, 2013. [Doc. 257 at 12.] The Government does not dispute that

           the § 2255 motion was timely filed pursuant to 28 U.S.C. § 2255(f). [Doc. 304 at 3.]

           II.   28 U.S.C. § 2255 Standard

                 A motion to vacate, set aside, or correct sentence may be made “upon the ground

           that the sentence was imposed in violation of the Constitution or laws of the United

           States, or that the court was without jurisdiction to impose such sentence, or that the

           sentence was in excess of the maximum authorized by law, or is otherwise subject to


                 3
                       Immigration removal proceedings are to commence against Movant upon
           completion of his confinement. [Doc. 190 at 2.]

                                                     3


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 4 of 13




           collateral attack . . . .” 28 U.S.C. § 2255(a). “[C]ollateral review is not a substitute for

           a direct appeal . . . .” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004)

           (per curiam). Section 2255 relief “is reserved for transgressions of constitutional rights

           and for that narrow compass of other injury that could not have been raised in direct

           appeal and would, if condoned, result in a complete miscarriage of justice.” Id.

           (quoting Richards v. United States, 837 F.2d 965, 966 (11th Cir. 1988)) (internal

           quotation marks omitted).

                 A § 2255 movant “has the burden of sustaining his contentions by a

           preponderance of the evidence.” Tarver v. United States, 344 Fed. Appx. 581, 582

           (11th Cir. Sept. 18, 2009) (per curiam) (quoting Wright v. United States, 624 F.2d 557,

           558 (5th Cir. 1980)4). The Court must conduct an evidentiary hearing unless “the

           motion and the files and records of the case conclusively show that the prisoner is

           entitled to no relief . . . .” 28 U.S.C. § 2255(b). “[A] district court need not hold an

           evidentiary hearing where the movant’s allegations are affirmatively contradicted by

           the record, or the claims are patently frivolous.”              Bain v. United States,

           565 Fed. Appx. 827, 828 (11th Cir. May 12, 2014) (per curiam) (quoting Aron v. United

                 4
                        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)
           (en banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the
           former Fifth Circuit handed down prior to the close of business on September 30, 1981.

                                                        4


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 5 of 13




           States, 291 F.3d 708, 715 (11th Cir. 2002)) (internal quotation marks omitted).

                  As the undersigned will explain below, an evidentiary hearing on grounds two

           and three of the amended § 2255 motion is not needed because the amended motion and

           record in this case conclusively show that Movant is entitled to no relief on those

           grounds. Accordingly, Movant’s motion for evidentiary hearing, [Doc. 302], is

           DENIED.

           III.   Discussion

                  In his amended § 2255 motion, Movant asserts the following three

           interconnected grounds for relief: (1) trial counsel, Sandra L. Michaels, provided

           ineffective assistance by failing to advise Movant of his appellate rights after

           sentencing (ground one); (2) the Government breached the plea agreement at sentencing

           (ground two); and (3) Michaels provided ineffective assistance at sentencing by failing

           to object to the Government’s breach (ground three). [Doc. 301 at 1, 6, 11.]

                  Movant’s plea agreement contains an appeal waiver, but the waiver bars neither

           ground one; see Gomez-Diaz v. United States, 433 F.3d 788, 793-94 (11th Cir. 2005);

           nor ground two; see United States v. Valencia, 456 Fed. Appx. 875, 877

           (11th Cir. Feb. 7, 2012) (per curiam) (citing United States v. Copeland, 381 F.3d 1101,

           1105 (11th Cir. 2004)). Although ground two is procedurally defaulted, as Movant did

                                                     5


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 6 of 13




           not raise it on direct appeal, ground three constitutes an attempt to show cause for the

           default. See Black v. United States, 373 F.3d 1140, 1142 (11th Cir. 2004). Movant’s

           appeal waiver bars ground three as an independent claim. See Williams v. United

           States, 396 F.3d 1340, 1341 (11th Cir. 2005).

                 The analytic framework that applies to Movant’s grounds arises from the

           following testimony given at the evidentiary hearing. Movant testified that (1) he did

           not ask Michaels to file an appeal, and (2) he would have appealed if Michaels had

           advised him of his right to appeal after sentencing. [Doc. 296 at 10-23.] Michaels

           testified that she (1) did not recall whether she had discussed an appeal with Movant

           after sentencing, (2) had no documentation regarding such a discussion with Movant,

           and (3) had a standard practice of discussing an appeal with a client after sentencing.

           [Id. at 24-30.]

                 In order to demonstrate ineffective assistance of counsel, a convicted defendant

           must show that (1) “counsel’s performance was deficient,” and (2) “the deficient

           performance prejudiced the defense.” Strickland v. Washington, 466 U.S. 668, 687

           (1984). A court may consider either prong first and need not address the other “if the

           defendant makes an insufficient showing on one.” Id. at 697. As to the first prong, the

           following standards apply to the present case:

                                                      6


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 7 of 13




                       [C]ounsel generally has a duty to consult with the defendant about
                 an appeal. . . .

                        [W]here a defendant has not specifically instructed his attorney to
                 file an appeal, [the court] must still determine whether counsel in fact
                 consulted with the defendant about an appeal. . . . [A]dequate consultation
                 requires informing a client about his right to appeal, advising the client
                 about the advantages and disadvantages of taking an appeal, and making
                 a reasonable effort to determine whether the client wishes to pursue an
                 appeal, regardless of the merits of such an appeal.

           Thompson v. United States, 504 F.3d 1203, 1206 (11th Cir. 2007) (citations and internal

           quotation marks omitted).

                        A criminal defense lawyer is not under a per se constitutional
                 obligation to consult with his or her client about an appeal. In some cases,
                 the Sixth Amendment requires such consultation; in others, it does not. . . .

                         [C]ounsel has a constitutionally imposed duty to consult with the
                 defendant about an appeal when there is reason to think either (1) that a
                 rational defendant would want to appeal (for example, because there are
                 nonfrivolous grounds for appeal), or (2) that this particular defendant
                 reasonably demonstrated to counsel that he was interested in appealing.
                 . . . This inquiry is informed by several highly relevant factors, including:
                 whether the conviction follows a guilty plea, whether the defendant
                 received the sentence he bargained for, and whether the plea [agreement]
                 expressly . . . waived some or all appeal rights.

           Otero v. United States, 499 F.3d 1267, 1270 (11th Cir. 2007) (per curiam) (citations and

           internal quotation marks omitted).

                 Examining the three Otero factors in the present case, (1) Movant pleaded guilty,



                                                      7


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 8 of 13




           [Docs. 157, 157-1, 157-2]; (2) Movant received a sentence of 175 months

           imprisonment, which was significantly less than his Guidelines range of 210 to 262

           months imprisonment, [Doc. 190 at 2-3; Doc. 232 at 26]; and (3) Movant’s plea

           agreement contained an appeal waiver, [Doc. 157-2 at 4]. Therefore, the three Otero

           factors weigh against Movant’s argument that Michaels had a duty to consult with him

           about an appeal. See id. at 1270-71.

                 The undersigned next considers whether Michaels had “reason to think” that it

           was necessary to consult with Movant about an appeal. See id. at 1270. Based on the

           testimony of Michaels and Movant at the evidentiary hearing, the undersigned finds

           that Movant did not reasonably demonstrate to Michaels that he was interested in

           appealing. [Doc. 296 at 10-30.] The only remaining issue is whether Movant’s desire

           to appeal was based on any nonfrivolous grounds and therefore rational. See id.

                 Movant argues that the Government’s alleged breach of the plea agreement at

           sentencing was a nonfrivolous ground for appeal. [Doc. 301 at 6-10.] The alleged

           breach arose from the following statements made by the Government during the plea

           colloquy:

                       The Government recommends [that Movant] be awarded the “safety
                 valve” provision [of 18 U.S.C. § 3553(f) and U.S.S.G. § 5C1.2], that his
                 base offense level be decreased two levels for the “safety valve.”

                                                    8


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 9 of 13




                        In this case, . . . we have a firearm that was found in a stash house.
                 Based upon the evidence the Government has, the Government does not
                 believe [Movant] possessed, constructively or actually possessed that
                 firearm; and, therefore, under [United States v. Clavijo, 165 F.3d 1341
                 (11th Cir. 1999) (per curiam)], he shouldn’t be prohibited from receiving
                 [the] “safety valve.”

           [Doc. 180 at 7-8.] Consistent with those statements, the Government recommended at

           sentencing that Movant receive a two-level decrease pursuant to U.S.S.G. § 5C1.2,

           which requires that Movant did not possess the firearm in the stash house, to which he

           and his co-conspirators had access. [Doc. 232 at 2, 11.] However, the Government

           also recommended a two-level increase pursuant to U.S.S.G. § 2D1.1(b)(1), which

           requires that Movant possessed the firearm at issue. [Id. at 2-3.] Movant contends that

           the Government’s § 2D1.1(b)(1) recommendation constituted a breach of the statements

           at the plea colloquy that Movant did not possess the firearm. [Doc. 301 at 6-10.]

                 As the Government points out, the plea agreement did not address § 2D1.1(b)(1).

           [Doc. 304 at 12-13.] Furthermore, the Eleventh Circuit has determined that the

           definition of firearm possession differs in § 2D1.1(b)(1) and § 5C1.2. See Clavijo,

           165 F.3d at 1343-44. For the purpose of § 2D1.1(b)(1), the definition includes

           “reasonably foreseeable possession of a firearm by co-conspirators.” Id. at 1343. For

           the purpose of § 5C1.2, the definition includes only the defendant’s “own conduct and



                                                      9


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 10 of 13




           conduct that he aided or abetted, counseled, commanded, induced, procured, or

           willfully caused.” Id. (quoting § 5C1.2 cmt. n.4). Therefore, the Government did not

           breach the plea agreement by recommending that Movant receive both (1) the

           § 2D1.1(b)(1) enhancement based on the presence of a firearm in the stash house, and

           (2) § 5C1.2 relief based on the absence of a direct link between Movant and the firearm.

                 The undersigned concludes that the Government’s alleged breach of the plea

           agreement at sentencing was a frivolous ground for appeal, and thus Movant’s desire

           to appeal was irrational. Michaels did not have a duty to consult with Movant about

           an appeal, and she did not provide ineffective assistance by way of any omission of

           such consultation after sentencing (ground one of amended § 2255 motion). See Otero,

           499 F.3d at 1270. It follows that Michaels also did not provide ineffective assistance

           by failing to object to the Government’s alleged breach (ground three of amended

           § 2255 motion). “A lawyer cannot be deficient for failing to raise a meritless claim.”

           Frederick v. Dep’t of Corr., 438 Fed. Appx. 801, 803 (11th Cir. Aug. 17, 2011)

           (per curiam) (citing Freeman v. Att’y Gen., 536 F.3d 1225, 1233 (11th Cir. 2008)).

           Because ground three of the amended § 2255 motion fails, Movant has not shown cause

           for the procedural default of ground two, regarding the Government’s alleged breach.

                 Accordingly, the undersigned RECOMMENDS that Movant be DENIED relief

                                                     10


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 11 of 13




           as to grounds one, two, and three of his amended § 2255 motion.

           IV.    Certificate of Appealability (COA)

                  Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings, “[t]he

           district court must issue or deny a certificate of appealability when it enters a final order

           adverse to the applicant. . . . If the court issues a certificate, the court must state the

           specific issue or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).”

           Section 2253(c)(2) states that a certificate of appealability may issue “only if the

           applicant has made a substantial showing of the denial of a constitutional right.” A

           substantial showing of the denial of a constitutional right “includes showing that

           reasonable jurists could debate whether (or, for that matter, agree that) the [motion]

           should have been resolved in a different manner or that the issues presented were

           adequate to deserve encouragement to proceed further.” Slack v. McDaniel, 529 U.S.

           473, 484 (2000) (internal quotation marks omitted).

                         When the district court denies a [motion to vacate, set aside, or
                  correct sentence] on procedural grounds without reaching the prisoner’s
                  underlying constitutional claim . . . a certificate of appealability should
                  issue only when the prisoner shows both that jurists of reason would find
                  it debatable whether the [motion] states a valid claim of the denial of a
                  constitutional right and that jurists of reason would find it debatable
                  whether the district court was correct in its procedural ruling.

           Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (citing Slack, 529 U.S. at 484)

                                                        11


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 12 of 13




           (internal quotation marks omitted).

                 A COA should be denied because the resolution of the issues presented is not

           debatable. If the Court adopts this recommendation and denies a COA, Movant is

           advised that he “may not appeal the denial but may seek a certificate from the court of

           appeals under Federal Rule of Appellate Procedure 22.” Rule 11(a), Rules Governing

           Section 2255 Proceedings for the United States District Courts.

           V.    Conclusion

                 For the reasons stated above,

                 IT IS ORDERED that Movant’s motion for appointment of counsel, [Doc. 291],

           is DENIED AS MOOT, his motion to amend, [Doc. 302], is GRANTED, and his

           motion for evidentiary hearing, [Doc. 302], is DENIED.

                 IT IS RECOMMENDED that (1) the § 2255 motion to vacate, set aside, or

           correct sentence, [Doc. 257], as amended, be DENIED; (2) a COA be DENIED; and

           (3) civil action number 1:13-cv-977-RWS-AJB be DISMISSED.

                 The Clerk is DIRECTED to terminate the referral of the § 2255 motion to the

           undersigned Magistrate Judge.




                                                     12


AO 72A
(Rev.8/8
2)
           Case 1:09-cr-00359-RWS-AJB Document 308 Filed 08/13/15 Page 13 of 13




                 IT IS SO ORDERED, RECOMMENDED, and DIRECTED, this 13th day

           of August, 2015.




                                               13


AO 72A
(Rev.8/8
2)
